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 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   ELLIOTT LAM, individually and on behalf of      Case No. 3:22-cv-07336-JSC
     other members of the general public similarly
12   situated,                                       [PROPOSED] ORDER GRANTING
                                                     DEFENDANT RIBBIT CAPITAL, L.P.’S
13                  Plaintiffs,                      MOTION TO CONSIDER WHETHER
                                                     CASES SHOULD BE RELATED
14             v.                                    PURSUANT TO CIV. L. R. 3-12
15   SAM BANKRMAN-FRIED, ZIXIAO
     “GARY” WANG, NISHAD SINGH and                   Dept.:     Courtroom 8 – 19th Floor
16   CAROLINE ELLISON,                               Judge:     Hon. Jacqueline Scott Corley
17                  Defendants.
18
     THIS DOCUMENT RELATES TO:
19
     Pierce v Bankman Fried et al.,
20   Case No. 3:22-cv-07444-JSC
21   Hawkins v Bankman Fried et al.,
     Case No. 3:22-cv-07620-JSC
22
     Jessup v Bankman Fried et al.,
23   Case No. 3:22-cv-07666-JSC
24   Papadakis v Bankman Fried et al.,
     Case No. 3:22-cv-00024-JSC
25
     Bhatia v Silvergate Bank,
26   Case No. 3:22-cv-07444-JSC
27   Magleby v Silvergate Bank, et al.,
     Case No. 3:23-cv-00669-JSC
28

       [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                                        (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335574
      Case 3:22-cv-07336-JSC Document 68-2 Filed 08/18/23 Page 2 of 4



 1   Keane v Silvergate Bank, et al.,
     Case No. 3:23-cv-00670-JSC
 2
     Rabbitte v. Sequoia Capital Operations, LLC, et
 3   al.,
     Case No. 3:23-cv-00669-JSC
 4
     Girschovich v. Sequoia Capital Operations,
 5   LLC, et al.,
     Case No. 3:23-cv-00945-JSC
 6
     Cabo v. Sequoia Capital Operations, LLC,
 7   Case No. 3:23-cv-02222-JSC
 8   Imbert v. Bankman-Fried, et al.,
     Case No. 3:23-cv-02475-JSC
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       [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                                        (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335574
      Case 3:22-cv-07336-JSC Document 68-2 Filed 08/18/23 Page 3 of 4



 1                                         [PROPOSED] ORDER

 2             On August 18, 2023 Defendant’s RIBBIT CAPITAL, L.P. (“Ribbit”) filed an

 3   Administrative Motion to Consider Whether Cases Should Be Related (Civ. L.R. 3-12). Having

 4   considered the papers and pleadings on file, the Court GRANTS Ribbit’s Administrative Motion

 5   to Consider Whether Cases Should Be Related and ORDERS that O’Keefe v. Temasek Holdings

 6   (Private) Limited et al, Case No. 3:23-cv-03655-LJC and Rabbitte, et al. v. K5 Gloval Advisor,

 7   LLC, et al, No. 4:23-cv-03953-DMR are related to Lam v. Bankman-Fried et al., Case No. 3:22-

 8   cv-07336-JSC and the other cases that have been related thereto. The following actions are

 9   ordered related pursuant to Civil L.R. 3-12(a).

10                   Lam v. Bankman-Fried et al., Case No. 3:22-cv-07336-JSC;

11                   Pierce v. Bankman-Fried et al., Case No. 4:22-cv-07444-JSC;

12                   Hawkins v. Bankman-Fried et al., Case No. 3:22-cv-07620-JSC;

13                   Jessup v. Bankman-Fried et al., Case No. 4:22-cv-07666-JSC;

14                   Papadakis v. Bankman-Fried et al., Case No. 3:23-cv-00024-JSC;

15                   Bhatia v. Silvergate Bank, No. 23-cv-00667-JSC;

16                   Magleby, et al v. Silvergate Bank, et al., Case No. 3:23-cv-00669-JSC;

17                   Keane v. Silvergate Bank, 3:23-cv-00670-JSC;

18                   Rabbitte v. Sequoia Capital Operations, LLC, et al., Case No 3:23-cv-00655-JSC;

19                   Girshovich v. Sequoia Capital Operations, LLC et al., Case No. 3:23-cv-00945-

20                    JSC;
                     Cabo v. Sequoia Capital Operations, LLC, Case No. 3:23-cv-02222-JSC; and
21

22                   Imbert v. Bankman-Fried, et al., Case No. 3:23-cv-02475-JSC

23                   O’Keefe v. Temasek Holdings (Private) Limited et al, Case No. 3:23-cv-03655-
24                    LJC
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                     Rabbitte, et al. v. K5 Gloval Advisor, LLC, et al, No. 4:23-cv-03953-DMR
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                                                1
       [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                                        (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335574
      Case 3:22-cv-07336-JSC Document 68-2 Filed 08/18/23 Page 4 of 4



 1   IT IS SO ORDERED

 2

 3   Dated:
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 5                                          HON. JACQUELINE SCOTT CORLEY

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       [PROPOSED] ORDER GRANTING MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
                                        (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335574
